Case 3:19-cv-07071-SI   Document 129-2   Filed 07/21/21   Page 1 of 9




                  Exhibit 1
      Case 3:19-cv-07071-SI   Document 129-2   Filed 07/21/21   Page 2 of 9



03415.com                                 asianbamboohouse.com
100crochetnecklaces.com                   asianbistro27106.com
17kingmvi.info                            asianhibachiexpress.com
1nafare.com                               asianwordnet.org
1on.com                                   asosindex.com
1serialmarket.com                         astrokarma.org
1subtime.xyz                              astroupload.com
2-ee.com                                  attips.com
47e.net                                   autobmwreview.com
4g4fun.com                                auto-knigi.com
7dt.com                                   autoprigon.com
98dl.org                                  avisnca.com
996ll.com                                 avmovie.com
abbcenter.com                             awaji-info.com
abileneszechuanrest.com                   axrizan.com
abilitygroup.com                          azadimath.com
access-tosuccess.com                      azaleasacademy.com
ad4cd.com                                 baankonkoh.com
adaletkizyurdu.com                        baansiri.com
ads2tech.com                              babybearonline.com
adsnl.com                                 bagsatoshi.com
advanceddermaa.com                        bajacafedeerfield.com
afm-rayan.com                             bandekubon.com
aidsthai.org                              banker99.net
air-cleaner-systems.com                   bare-family.net
ajbms.org                                 bare-girls.com
ajegmebeljogja.com                        batiantalyatur.net
albassair.org                             bazneshaste.com
albtvlive.com                             behhf.com
al-clothe.com                             bessieblegardamf.org
al-fadjr.com                              beverlynailsgreensboro.com
alkds.com                                 biomatecs.com
allelectrotrade.com                       biruzaclub.com
amn-jeans.com                             bitex360.com
andis-travel.com                          bluesky-resort.com
ankochan.net                              bmwredesign.com
anthan68.com                              bollyzik.com
apexhotelpattaya.com                      boostyoursurf.com
appcustom.com                             bovoss.com
arabrunners.com                           boxmk.com
ariankhoshnevis.com                       bpihospital.com
artpc.org                                 brandcloset.com
aryaahora.com                             breastcrawl.org
ascij.com                                 bridgescore.com
asemanbooking.com                         brusselairline.com
asfh.com                                  buffetkinghouston.com
asianamenu.com                            buzziran.com
      Case 3:19-cv-07071-SI   Document 129-2   Filed 07/21/21   Page 3 of 9



caffetakroman.com                         cracksarchive.com
caili-wj.com                              crewsociety.com
cambrigeenglish.org                       crossfithaven.com
campinglabanera.com                       crosstheworld.com
campriviera.com                           cusmaker.com
cansa.com                                 custompinoyrides.com
canthoinfo.com                            cvbesaz.com
car2sure.com                              cvpk.com
card-generator.com                        dadafalv.com
careerfairs-eastcoast.com                 dancingtiger.net
catrumahminimalis.com                     daneshju-club.com
cccamperland.com                          darksidefabrications.com
ccnacertificationguide.com                darrylsstainedglasspatterns.com
cebudirect.com                            dasradiatoridiarredo.com
celalagakonagihotel.com                   daychuyendavay.com
centerfurnit.com                          dcvprogram.org
cfni.com                                  delfinobeach.com
cgmls.com                                 deltabroadcastingsystem.net
charekar.com                              depotaccount.com
charming-angels.net                       designvog.com
cheatha.com                               detailenglish.com
chengmingmag.com                          diallerplugin.com
cherdo.com                                diamondsandgoldireland.com
cherlove.net                              dighousedesign.com
chic2sweet.com                            dinodanesh.com
chinaexpressef.com                        dirmug.com
chinakingil.com                           divingfinder.com
chinakingmoberly.com                      dlllspeed1.xyz
chinastardinner.com                       dlllspeed2.xyz
chinastarharlingen.com                    dmvexam.org
chinawok8.net                             docmartin.org
chornakorn.com                            dogtasuk.com
christopherwong.com                       dolphinsandscabins.com
cimonebikepark.com                        doma-nn.com
classicquotes.com                         donrearic.com
cleverlimo.com                            downcafe.net
closeupenglishform3.com                   downloadler.com
clouddeck.net                             dralisafari.com
c-m-m.net                                 dramafire.net
coco-stream.com                           drazarakhshmokri.com
coloradotikiboat.com                      drborworn.com
communichat.net                           dreamtone.org
cookbim.com                               drinkzone.net
cookjino.com                              drkhatir.com
cortas.com                                dsrh.com
cpj.net                                   dutoantsc.com
cps3anderson.com                          ecole-coiffure-pluralis.com
      Case 3:19-cv-07071-SI   Document 129-2   Filed 07/21/21   Page 4 of 9



eiiff.com                                 goldcoastpcyc.com
elkhabarerriadhi.com                      goldenmanoromaha.com
emballage-packaging.com                   goldenpalace15east.com
emspeeding.com                            goldenvalleylendinglogin.com
enfong-waco.com                           goldsday.com
eprogramy.org                             goluckypalace.com
eramhome.com                              gomainmoon.com
esl-skilled-academy.com                   gosing.com
exirpakat.com                             gozzo.com
extendmypoolseason.com                    grcity.com
ezmovinginla.com                          greatwallwa.com
faraswan.com                              gsb-pracharat.com
fardecor.com                              h4846.com
farsituts.com                             haftestan.com
farspal.net                               haichuoi.com
farvardinclinic.com                       happyhouseoh.com
feiz.com                                  happypandatn.com
felezyabkord.com                          hartaudio.com
fieldofbitcoin.com                        hastiland.com
fih.net                                   hatyaismiletour.com
filekeen.com                              hayespharmacy.com
filmstreamingfr.net                       hdwallpaperbackgrounds.net
filmsubito.org                            healthandhappinessfoundation.com
filmycz.com                               herasmassagebkk.com
finanslinker.net                          hexupload.com
finesseflorist.com                        hiddenitegems.com
flatearthfarsi.com                        his-hotel.com
food-to-taste.com                         hjtb.com
frankiecihi.com                           hkdimsumcity.com
free-bitcoin.org                          hoaphatonline.com
freehandmades.com                         holioplugin.com
freejoomlatemplatez.com                   hongkongchineserestaurant.net
free-keno-games.com                       hongpaklakroi.com
freevpnproxy.org                          hongsong.com
frenchpopcorn.com                         hoteldellevittorie.com
freshfieldsfarmboxes.com                  hoteldorange.com
frive.com                                 hotel-hertelendy.com
frogfaucet.com                            hotwifecuckolds.com
furoro.com                                hrvinet.com
gafrecruitment.com                        hunanchineseshawano.com
gamehacknow.com                           hunanwok8.com
gamekiller.com                            hunanwokjax.com
genzu.com                                 hundunpi.com
gideapps.com                              hykd.com
glassexpertllc.com                        iaaa.com
gmnw.com                                  iclasscenter.com
goahub.com                                idd100.com
      Case 3:19-cv-07071-SI   Document 129-2   Filed 07/21/21   Page 5 of 9



ieltsexam.net                             kontrolauma.org
imanmaleki.com                            kooliptv.com
imxdata.com                               kpopseries.com
indiagiftsportal.com                      krujongrak.com
infohowler.com                            krupongsak.net
inmobiliaria-torrox.com                   krylov.org
insightin.com                             kwongchowrestaurant.com
intermusicthailand.com                    kyu-syu-kaihatu.com
intrader.com                              l2-news.com
ioksp.com                                 labelle-entertainment.net
iranitalyapply.com                        ladyhealthfirst.com
islamicdreamsolutions.com                 lak21.com
iwant2go2korea.com                        lakeforkmarina.net
jabbarsteel.com                           laketappsmontessori.com
jack-siamamulet.com                       latexdisposableglove.com
jadoyezehn.com                            latribune-online.com
jamestown-ca.com                          lawandsea.net
janyaresort.com                           laysol.com
jaquette-online.com                       ldgseoul.com
javadpay.com                              ledrononline.com
jetphotosoft.com                          lekkoo.com
jetzaban.com                              lembaz.com
jewgle.com                                lensagaul.com
jirocomputer.com                          lifeupmusic.com
jjasianbistro.com                         like-tv.org
jjchinadiner.com                          linkcik.com
jlnx.com                                  littletreegarden.com
joomavatar.com                            liwahotel.net
judiangka3.com                            lmtstore.com
junse.com                                 lolita-playground.com
jwscar.com                                love-teen.net
k2camping.com                             lpcasinoblu.com
kanbikai.com                              lpkt.com
kandabisoft.com                           lq293.com
kawnafurniture.com                        lsyf.com
kcdt.com                                  lumpysshakeshop.com
kengschowmein.com                         machoomcar.com
kennyschinese.com                         madx.com
khaosanimmjai.com                         magiksex.com
kharid123.com                             magnumtattooshop.com
kidsanookplaza.com                        maisoncubenkit.com
kingbuffetwa.com                          manfaattanamanobatherbal.com
kishaway.com                              maplebankfarm.com
klubochek.com                             marifetlimuallim.com
kmkw.com                                  marvelhotelbangkok.com
knigitxt.com                              marvelousimpex.com
kohngaithanyaresort.com                   medikamente-rezeptfrei.net
      Case 3:19-cv-07071-SI   Document 129-2   Filed 07/21/21   Page 6 of 9



meeetme.com                               newaltisclubthailand.com
meishi-studio.com                         newchinabuffetmargate.com
mess-prive.com                            newheavenkohtao.com
metier.net                                newhibachicafe.com
milgafas.com                              new-sex-up.com
minds-online.com                          ngms.com
minhsrestaurant.com                       nightdreambabes.com
misamshop.com                             ninit.com
mizu-softphone.com                        njspellingbee.net
mjacksong.com                             nlpvas.com
mobile4free24.com                         nnimages.net
modjeskaranchrescue.org                   noblemotorsports.net
mogomovies.com                            novaset.net
mojazdl.com                               novoair.com
mondial-lift.com                          novotemporh.com
monika-clinic.com                         nt-boys.com
moorenissan.net                           nubianplugin.com
moroccosong.com                           nudecreatives.com
morvarewards.com                          nudismtop.com
movie21.com                               nudist-pics.org
moviefisher.org                           numberyab.com
mrhoagie.com                              nyha.com
mrlongtoeic.com                           nytc.com
mrsmkbtsua.com                            omvn.com
mtf-online.com                            onedayclub.com
mtrd.com                                  onewaystreetwear.com
muabanon.com                              onlinenic.club
museumfurniture.com                       optraclub.com
musicatotal.org                           orangesbkk.com
mxcgoods.com                              ozonegame.com
myanimepedia.com                          p30it.com
myanmartourism.org                        p30updl.com
mylend.com                                pacontrol.com
my-personal-finder.com                    padisamorong.com
mzvf.com                                  pantyhoseinnylons.com
mzvk.com                                  parikramarestaurant.com
nails1kokomo.com                          parisciel.com
nakhathaimassagewyong.com                 parspan.com
nakhonphanom.net                          parttimejobone.com
namoodar.com                              peakmanagementservices.com
nampadhospital.org                        peggingblackmen.com
natureviewpattaya.com                     pelicula1.com
navatractor.com                           persiantarh.com
naylavip.com                              pes-ukraine.com
nbdndenimsupply.com                       pezeshkeonline.com
negahetazehco.com                         pfgx.com
newactorsworkshop.com                     phil-job.net
      Case 3:19-cv-07071-SI   Document 129-2   Filed 07/21/21   Page 7 of 9



phimsd.org                                rongbachkim888.com
phoenixmassagect.com                      roninsushioh.com
photosinhouse.com                         rottourthai.net
pintasloan.com                            routepointe.com
pippin-style.com                          rpjs.com
pix2pix.org                               rprestaurant.com
pklivetvchannels.com                      rsbikers.com
plearnkid.com                             ruay226.com
pleasuresnowboards.com                    runnersleader.com
pnkk.com                                  rylaconference.com
pointclickcare-login.com                  sahatoys.com
polarisspa.net                            saintmed-cpap.com
pollockstoys.com                          samdecorator.com
pom-puppies.com                           sanayefannavaran.com
pornoxide.org                             sandhmotors.com
postgah.com                               sangcharernbike.com
ppyoon.com                                santapaula-motel.com
pradid.com                                saunawell.com
pratunampavilion.com                      saveyoufile.com
presidentusa.net                          sgex.com
preteen-angels.net                        shaigle.com
prettynailsmn.com                         shenzem.com
prokredit.net                             shikfilm.com
ps-thai.org                               shoplyra.com
puribambu.com                             shoptung.com
pushemstation.com                         sibdownload.com
pztk.com                                  singlenew.com
qingtong5.com                             sino-hotel.com
qualitysimulations.com                    skselectric.com
queenslandcatering.com                    smileplus-dentalclinic.com
qukuaiwei.com                             smilethaitour.com
ra1ra.net                                 smokymountainflyguide.com
radioruraledekayes.net                    sontel.com
radompon.com                              soulkitchenhostel.com
ramapatholab.net                          southbaycommunityservices.org
ramenbones.com                            spillo54.org
redrock-beach.com                         spoletina.com
restaurantvittorios.com                   spozami.com
revistaklan.com                           springhillmanor.net
ricocashdocument.com                      srcpanel.com
ristorantesangiorgio.net                  sshcommic.com
ritapateroni.com                          stagelinecosmetics.com
rohm-labs-uk.com                          steamaccs.com
rolbx.com                                 strabiliardo.com
romaji.org                                streamvff.com
romanbaz.com                              stripemania.com
romankhoni.com                            strowberry.net
      Case 3:19-cv-07071-SI   Document 129-2   Filed 07/21/21   Page 8 of 9



sub-titles.net                            traceyshome.com
sues668899.com                            trangvangraovat.com
suhanhotel.com                            trochoitruyenhinh.com
sumannvshen.com                           truemove.com
sunfirebeach.net                          truewifi.net
sunnypet3.com                             tunesway.com
superpinger.com                           tvprogram4u.com
suppliergreenworld.com                    tvti.net
surfsitmoney.com                          twcartuner.com
sushijapanmenu.com                        tyeyo.com
sutanaryan.com                            tysoffka.net
sweetasianjudy.com                        ukplugin.com
syrschool.net                             umbria.org
tahrirgar.com                             uploadfa.net
tamalehouse.com                           usaplugin.com
taptarinha.com                            utggold.com
tatjawaher.com                            vanthaitour.com
teamtailnut.com                           vectorartbox.com
tehranbuy.com                             vectorengineer.com
tehrangold.net                            vendomicoche.com
telcoplugin.com                           venetiannailsspacalgary.com
teledidar.com                             vipcarrentegypt.com
telemaniak.org                            vivid-media.net
templatesquare.com                        vngg.com
thaiantialcohol.com                       vnif.com
thailottowin.com                          vnmb.com
thaivbd.org                               vnyf.com
thaliwalla.com                            vob2.com
thcr.com                                  voceck.com
thebandcall.com                           vos-films.com
thebankmassage.com                        vpf.net
thefoodsearch.com                         walkoutwear.com
theonebbshop.com                          warz44z.com
thhthh.com                                watchestour.com
tianshunchengye.com                       watchmovhd.com
tinydl.com                                wbut.net
tire-fitter.com                           wdis.com
tjinus281.com                             webdedatos.com
tklm.com                                  wehp.com
top3da2.com                               wel-come.com
topdownloadebooks.com                     welcometosulmona.com
topfreebookdownload.com                   wellcaretv.com
topless-beach.net                         wikalenda.com
topniko.com                               wikifile.net
topsolar.org                              williamsburghousefurnishings.com
topvs1.com                                winapi-database.com
tp-link.net                               wlmp-project.net
      Case 3:19-cv-07071-SI   Document 129-2   Filed 07/21/21   Page 9 of 9



worktshirt.com
world-lymph.com
wtkgolds.com
wyandotteministorage.com
xajaxproject.org
xes7.com
xfhdpcb.com
xn--12cn9bh6bk7b7c0h.com
xn--22ckh8be0a3due8af4fvdj7hua.com
xqhq.com
xrussianteens.com
xtremetutor.com
xutd.com
xx11x.com
yamahaexciter.com
yamasushiva.com
yanscuisineri.com
yekp.com
yfil.com
yokosojapan.org
zabanamoozan.com
zagcafe.com
zakustom.com
zamilshipyard.com
zbed.com
zekr.org
zibaweblog.com
